Case 2:05-mc-00026-.]DB-dkv Document 4 Filed 06/16/05 Page 1 of 3 Page|D 4

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STEPHANIE D. SAN'DRIDGE, as

Administrtrix of the Estate of

GREGORY D. CROSS, deceased,
Plaintiff,

vs.

NO. 05-MC-026BV

FORD MOTOR COMPANY,

Defendant.

 

ORDER TO SHOW CAUSE

 

Before the court is the motion of the defendant, Ford Motor
Company, to hold Barbara Lester in civil contempt for failing to
appear and testify at a deposition after being served with a valid
subpoena requiring her to appear and testify under oath in regards
to a civil action pending before the United States District Court
for the Northern District of West Virginia, styled, Stephanie D.
Sandridge, as Administratrix of the Estate of Gregory D. Cross,
Deceased, v. Ford Motor Company, No. 2:04CV18. Ford also seeks an
award of attorney fees and expenses it has incurred in connection
with this motion. The motion was referred to the United States
Magistrate Judge for determination.

Barbara Lester is ordered to appear before the United States

District Court for the Western District of Tennessee, 167 N. Main

Tnis document entered on the docket sheet in compliance
Wlth Hu!e 58 and/ur 79(3) FHCP on “/ cr

 

Case 2:05-mc-00026-.]DB-dkv Document 4 Filed 06/16/05 Page 2 of 3 Page|D 5

Street, Memphis, Tennessee, Courtroom #5, on Thursday, June 30,
2005, at 10:30 a.m. and show cause why she should not be compelled
to give a deposition and why she should not be held in contempt of
court for failing to appear for a deposition. The clerk of the
court is directed to serve a copy of this order on Barbara Lester.

Failure to appear and show cause may result in an order of
contempt being entered and sanctions being imposed, including
possibly detention.

IT IS SO ORDERED this 16th day of June, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-MC-00026 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

Stephanie D. Sandridge
900 North Avalon Street
1\/1emphis7 TN 38107

Alonzo Washington

FLAHERTY SENSABAUGH & BONASSO7 P.L.L.C.
P.O. Box 3843

P.O. Box 3843

Ch.';lrleston7 WV 25338

Emily Turner Landry

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Michael Bonasso

FLAHERTY SENSABAUGH & BONASSO7 P.L.L.C.
P.O. Box 3843

Ch.';lrleston7 WV 25338

.1 ohn Randolph Bibb

BAKER DONELSON BEARMAN & CALDWELL
211 Commerce St.

Ste. 1000

Nashville, TN 37201

Honorable .1. Breen
US DISTRICT COURT

